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                        IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF SOUTH CAROLINA

                                   GREENVILLE DIVISION

Edward Hund and Elizabeth Hund,                  )       Civil Action No. 6:10-cv-01556-JMC
                                                 )
                                   Plaintiffs,   )
                                                 )
                vs.                              )             JOINT STATUS REPORT
                                                 )
Smith & Nephew, Inc.,                            )
                                                 )
                                 Defendant.      )
                                                 )

       Pursuant to the Court’s August 28, 2011 Order, a stay was imposed in this matter for a

period of sixty days. (Doc. No. 67.) That stay is scheduled to be lifted on October 18, 2011.

(Id.) Pursuant to the terms of the Court’s Order, the parties were to contact the Court prior to the

expiration of the stay regarding modifications to the current scheduling order, in the event any

modifications were required.

       The parties jointly report to the Court that they have reached a mutually agreed upon

settlement that, once finalized, will resolve this matter in its entirety. As a result, the parties

further report that they do not require any modifications to the current scheduling order. The

parties anticipate the settlement will be finalized in the near future and appropriate

documentation, including a Stipulation of Dismissal will be submitted to the Court at that time.


We So Report:

NELSON MULLINS RILEY & SCARBOROUGH, L.L.P.

s/ Jeremy C. Hodges
James F. Rogers, Federal Bar No. 5053
E-Mail Address: jim.rogers@nelsonmullins.com
Jeremy C. Hodges, Federal Bar No. 9238

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E-Mail Address: jeremy.hodges@nelsonmullins.com
1320 Main Street / 17th Floor
Columbia, SC 29201
(803) 799-2000

Attorneys for Smith & Nephew, Inc.



We So Report:

CHRISTIAN & DAVIS

s/ Joshua D. Christian
W. Harold Christian, Jr. Federal Bar No.
Joshua D. Christian, Federal Bar No. 9732
Post Office Box 332
Greenville, SC 29602
(864) 232-7363

Attorneys for Plaintiffs



                                      October 17, 2011




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                        IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF SOUTH CAROLINA

                                   GREENVILLE DIVISION

Edward Hund and Elizabeth Hund,                  )       Civil Action No. 6:10-CV-01556-JMC
                                                 )
                                   Plaintiff,    )
                                                 )
               vs.                               )
                                                 )
Smith and Nephew, Inc.,                          )
                                                 )
                                 Defendant.      )
                                                 )
                                                 )

                                CERTIFICATE OF SERVICE
       I hereby certify that on October 17, 2011 I electronically filed the foregoing JOINT
STATUS REPORT using the CM/ECF systems which will send notification of such filing to the
following:

Joshua D. Christian
jchristian@christiananddavis.com
Warren H. Christian, Jr.
hchristian@christiananddavis.com
Christian & Davis
Post Office Box 332
Greenville, SC 29602
(864) 232-7363

and I hereby certified that I mailed by United States Postal Service the document to the
following:

None



                                                /s/ Jeremy C. Hodges
                                                Jeremy C. Hodges




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